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       UM TED STATES OF AM ERICA ,

                      1Rlltilltijl-,                     02
                                                           :07-CR-000î0-CRW -PAL


       M ICHAEL JENKINS,                                         ORDER

                     Defene t.

                    Commencing atnûonon Friday, August31,2012,and continuing forup to four
       hours,ifnerded, tl
                        :eCourtwillreceiveevidenceandcom pletethehearing onM ichaelJenkims'
       28U.S.C.sectiûn 2255petition, in accordancewitbproceedingsheldon August15 in l2sVegas
                                                    .

      Theteleconferencehearingwillbeheld in Co                                                  .
                                                 urtroom 4A.AraceliBarengwil:recôrd the
      lclephoneconference. 'fheteleconfertncecall-in ntl
                                                       m berwillbe702/863- 4919,entering 123456
      attheprompt. DefendantM ichaelJenkinsmayparticipate i
                                                              n thehearingbydialing tlw call-in
      num ber.
                   1-1-IS SO ORDERED.
                   Dated tbis30+ day ofAugust, 2012,




                                                CHARDES R. WOQLE, JUDGD
                                                U.a. DSSTRICT COURT
